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                                                                    United States District Court
                                                                      Southern District of Texas

                                                                         ENTERED
                                                                         June 22, 2022
                     UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF TEXAS                      Nathan Ochsner, Clerk

                         GALVESTON DIVISION

STAN KOZLOWKSI, ET AL.,               §
                                      §
       Plaintiffs.                    §
                                      §
VS.                                   § CIVIL ACTION NO. 3:20-cv-00365
                                      §
WILLIAM BUCK, ET AL.,                 §
                                      §
       Defendants.                    §

                 ORDER ADOPTING MAGISTRATE JUDGE’S
                 MEMORANDUM AND RECOMMENDATION

       On June 22, 2021, this case were referred to United States Magistrate

Judge Andrew M. Edison under 28 U.S.C. § 636(b)(1). Dkt. 34. Judge Edison

filed a memorandum and recommendation on May 18, 2022, recommending that

Defendants’ Motion for Summary Judgment, Dkt. 39, be granted. Dkt. 67.

       On June 1, 2022, the plaintiffs filed their objections to the memorandum

and recommendation. Dkt. 68. The defendants filed a response to the plaintiffs’

objections on June 15, 2022. Dkt. 69. In accordance with 28 U.S.C. §

636(b)(1)(C), this court is required to “make a de novo determination of those

portions of the [magistrate judge’s] report or specified proposed findings or

recommendations to which objection [has been] made.” After conducting this de

novo review, the court may “accept, reject, or modify, in whole or in part, the

findings or recommendations made by the magistrate judge.” Id.; see also Fed. R.

Civ. P. 72(b)(3).



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      The court has carefully considered the objections and response; the

memorandum and recommendation; the pleadings; and the record. The court

accepts Judge Edison’s memorandum and recommendation and adopts it as the

opinion of the court. It is therefore ordered that:

      (1)    Judge Edison’s memorandum and recommendation, Dkt. 67, is
             approved and adopted in its entirety as the holding of the court; and

      (2)    The defendants’ motion for summary judgment, Dkt. 39, is granted.


      Signed on Galveston Island this 22nd day of June 2022.



                                       ______________________________
                                       JEFFREY VINCENT BROWN
                                       UNITED STATES DISTRICT JUDGE




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